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14   Counsel for Bristol County Retirement System and
15   Joseph S. Maroun

16                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
17
                                             Case No. 3:19-cv-01651-WHO
18   RYAN SCHELLER, on behalf of himself and
     all others similarly situated,          CLASS ACTION
19
                           Plaintiff,                NOTICE OF NON-OPPOSITION OF
20                                                   BRISTOL COUNTY RETIREMENT
            v.                                       SYSTEM AND JOSEPH S. MAROUN TO
21                                                   COMPETING MOTIONS FOR
     NUTANIX, INC., DHEERAJ PANDEY, and              APPOINTMENT AS LEAD PLAINTIFF
22   DUSTON M. WILLIAMS,                             AND APPROVAL OF SELECTION OF
                                                     LEAD COUNSEL
23                         Defendants.
                                                     Date: July 10, 2019
24                                                   Time: 9:00 a.m.
                                                     Courtroom: 2 – 17th Floor
25                                                   Judge: William H. Orrick III
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 1
     TIM MAUTER, Individually and on Behalf of Case No. 3:19-cv-02442-RS
 2   All Others Similarly Situated,
 3                         Plaintiff,
 4          v.
 5   NUTANIX, INC., DHEERAJ PANDEY and
     DUSTON M. WILLIAMS,
 6
                          Defendants.
 7

 8   JOSEPH S. MAROUN, Individually and on       Case No. 3:19-cv-02744-RS
     Behalf of All Others Similarly Situated,
 9
                           Plaintiff,
10
            v.
11
     NUTANIX, INC., DHEERAJ PANDEY and
12   DUSTON M. WILLIAMS,
13                        Defendants.
14
     HEIDI ZAPF, Individually and on Behalf of   Case No. 3:19-cv-02781-SI
15   All Others Similarly Situated,
16                         Plaintiff,
17          v.
18   NUTANIX, INC., DHEERAJ PANDEY, and
     DUSTON M. WILLIAMS,
19
                          Defendants.
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 1                                  NOTICE OF NON-OPPOSITION
 2          Proposed Lead Plaintiff Bristol County Retirement System and Joseph S. Maroun

 3   (“Bristol and Maroun”) respectfully submit this notice of non-opposition with respect to the

 4   pending motions for appointment as Lead Plaintiff and approval of selection of Lead Counsel in

 5   the above-captioned securities class actions (the “Action”).

 6          On May 28, 2019, Bristol and Maroun filed a motion for appointment as Lead Plaintiff

 7   and approval of selection of Lead Counsel for the Class. See ECF No. 35. On that date, Shimon

 8   Hedvat (ECF No. 22); Frank H. May (ECF No. 37); Jose Flores (ECF No. 32); Mamood Sabahi

 9   (ECF No. 26); City of Birmingham Retirement and Relief System (ECF No. 19); John Barnes,

10   Heidi Zapf, and Ronald Castillo (ECF No. 47); and David Panczner (ECF No. 17), also filed

11   competing motions for appointment as Lead Plaintiff and approval of selection of Lead Counsel.

12          The Private Securities Litigation Reform Act (“PSLRA”) provides that the “court shall

13   adopt a presumption that the most adequate plaintiff” is the movant with “the largest financial

14   interest in the relief sought by the class” that “otherwise satisfies the requirements of Rule 23 of

15   the Federal Rules of Civil Procedure.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). Having reviewed the

16   competing motions and supporting papers provided by the other movants seeking appointment as

17   Lead Plaintiff, it does not appear that Bristol and Maroun possess the largest financial interest as

18   required by the PSLRA.

19          However, were the Court to determine that any of the other movants seeking appointment

20   as Lead Plaintiff are incapable or inadequate to represent the Class in this litigation, Bristol and

21   Maroun stand ready, willing, and able to serve as Lead Plaintiff of the Action. Bristol and

22   Maroun reserve any and all rights to participate in any recovery in the Action.

23   DATED: July 8, 2019                            Respectfully submitted,

24                                                   /s/ James M. Wagstaffe

25                                                   James M. Wagstaffe (#95535)
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10                                      Counsel for Bristol County Retirement System and
                                        Joseph S. Maroun
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16                                      Additional Counsel for Bristol County Retirement
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                                        Additional Counsel for Joseph S. Maroun
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     NOTICE OF NON-OPPOSITION                                                           2
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 1                                    CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that on July 8, 2019, I was authorized to electronically file the

 3   foregoing with the Clerk of Court using the CM/ECF system, which will send a Notice of

 4   Electronic Filing to all counsel of record.

 5                                                     /s/ James M. Wagstaffe
                                                       James M. Wagstaffe
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